            Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 1 of 17 PageID #:1


  FILED                        UNITED STATES DISTRICT COURT
      ocT   I1   2U8'{J,"      NORTHERN DISTRICT OF ILLINOIS
   THOMASG BRUTON                    EASTERN DIVISION
CLERK U.S. DISTRICT COURT


       UNITED STATES OF AMERICA

                 v.
                                                        N.    18CR 681
                                                        Violations: fitle 26, United States
       MICHAEL ABRAMSON                                 Code, Section 7206(l)

                                                                          .rffitmgoAlJ.
                                            COI.]I{T ONE            MAGISTRATE JUIEE       VAIffiI
             The SPECIAL DECEMBER 20L7 GRAND JURY charges:

             1.       At times material to this indictment:

                                            Backgtround

                      a.    The Internal Revenue Service was part of the United States

      Department      of the Treasury and,      among other things, was responsible for

      administering the tax laws of the United States and collecting taxes from individuals

      and entities.

                      b.    Corporations were required to     file an annual United      States

      Corporation Income Tax Return, Form 1120, including schedules and attachments,

      with the Internal Revenue Service by a date certain. Corporations could file a Form

      1120X, Amended U.S. Corporation Income Tax Return, to correct a Form L120 as

      originally filed or as later adjusted by an amended return.

                 . c.       In Forms   1120 and 1L20X, corporations were able       to   deduct

      business expenses      that were ordinary and      necessary, including payments to

      employees and contractors for the services that they perforrned for the corporation's

      business. Corporations were not able to deduct personal expenses.
     Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 2 of 17 PageID #:2



             d.     Individual taxpayers were required to file an annual United

States Individual Tax Return, Form 1040, including schedules and attachments, with

the Internal Revenue Service by a date certain,     if the individual's gross income
exceeded certain specified amounts.

             e.    The information that the Form 1040 required the taxpayer to

provide included, but was not limited to, amounts of total income for the tax year and

the amount of tax due or refund claimed. A taxpayer's total income included income

received from a corporation, including income   in the form of wages, compensation,
dividends, and capital gains.

                       Entities and Individuals Involved
             f.    Leasing Employment Services Company,              Inc.   ("Leasing

Employment Services"), was a business incorporated in the State of Illinois.

             g.    Chicago Citywide Appraisals was a business incorporated in the

State of Illinois in or around November 2002. In or around January 2003, Chicago

Citywide Appraisals changed its name to Eastern Advisors, Inc. ("Eastern Advisors").

             h.    Defendant MICIIAEL ABRAMSON held an ownership interest in

Leasing Employment Services and Eastern Advisors.

             i.    Eastern Advisors maintained bank accounts at two financial

institutions, and ABRAMSON was a signatory on these accounts.

            j.     Individual A had a romantic relationship with ABRAMSON.
     Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 3 of 17 PageID #:3



             k.    Individual B provided bookkeeping and accounting services for

Leasing Employment Services and Eastern Advisors under the direction of

ABRAMSON beginning in or around 2008.

             l.    Individual C was a business associate of ABRAMSON.

                            Payments to Individual A

             m.    Beginning in or around June 2003, ABRAMSON caused Eastern

Advisors to make payments to Individual A.

             n.    Beginning in or around 2008, ABRAMSON directed Individual B

to issue checks from an Eastern Advisors bank account that were made payable to

Individual A, and directed Individual B to classifr these payments as "advance on

commissions" or "commissions"   in the books and records of Eastern Advisors.     As

ABRAMSON well knew, these payments were not advances on commissions or

commissions, but in fact were personal payments from ABRAMSON to Individual A

based on income ABRAMSON received from Eastern Advisors.

             o.    ABRAMSON further made and directed Individual B to make

certain additional payments to Individual A and on behalf of Individual A, including

payments of personal expenses incurred by Individual A, and directed Individual B

to classifr these paSrments as loans in the books and records of Eastern Advisors. As

ABRAMSON well knew, these pa5rments were not loans, but in fact were personal

payments from ABRAMSON to Individual A based on income ABRAMSON received

from Eastern Advisors.




                                          3
     Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 4 of 17 PageID #:4




                    False Corporate and Personal Tax Returns
                         Filed at ABRAMSOIVs Direction
             p.      Beginning no later than in or around 20L2 and continuing until

at least in or around 2016, ABRAMSON caused the filing of multiple United States

Individual Tax Returns, Form 1040, including schedules and attachments, for

calendar years 2011 through 2014, that falsely stated ABRAMSON's income by

omitting ABRAMSON's income from Eastern Advisors, which ABRAMSON directed

to Individual A.

             q.      Between   in or around   2002 and continuing   until at least in   or

around 20L3, Eastern Advisors was required to and did not file an annual United

States Corporation Income Tax Return, Fortn     1-1-20.


             r.      In or around zDlS,Individual C advised ABRAMSON that the
Internal Revenue Service was requesting inforrnation related to ABRAMSON and

Eastern Advisors.

             s.      Beginning no later than in or around 20L4 and continuing until

at least in or around 2015, ABRAMSON caused the filing of United                 States

Corporation Income Tax Returns, Forms 1120 and 1120X, including schedules and

attachments, for Leasing Employment Services for calendar years 2006 through

20L4. At     ABRAMSON's direction, these corporate         tax returns for     Leasing

Employment Services included information concerning the income and business

expenses of Eastern Advisors. These returns falsely identified payments previously




                                          4
     Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 5 of 17 PageID #:5



made by Eastern Advisors to Individual A at ABRAMSON's direction as business

expense deductions and loans.

      2.     On or about October L5, 20L2, in the Northern District of Illinois,

Eastern Division,

                              MICTIAEL ABRAMSON,

defendant herein, did   willfully make and subscribe and caused to be made and
subscribed, a United States Individual Income Tax Return L040 with schedules and

attachments for the calendar year      201-1-,   which return was verified by a written

declaration that was made under penalties of perjury, and filed with the Internal

Revenue Service, which return defendant did not believe to be true and correct as to

every material matter,   in that it falsely stated on line 22 of said return that
defendant's total income was $546,l(8,whereas defendant knew that the amount set

forth on line 22 was false and fraudulent because defendant's total income was

substantially in excess of $546,148;

      In violation of Title 26, United States Code, Section 7206(l).
     Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 6 of 17 PageID #:6



                                       COI]NT TWO

      The SPECIAL DECEMBER 2Ot7 GRAND JURY further charges:

       1.    The allegations in paragraph 1 of Count One of this indictment and

incorporated here.

      2.     On or about October 17, 20L3, in the Northern District of Illinois,

Eastern Division,

                              MICIIAEL ABRAMSON,

defendant herein, did   willfully make and subscribe and caused to be made and
subscribed, a United States Individual fncome Tax Return L040 with schedules and

attachments for the calendar year 20L2, which return was verified by a written

declaration that was made under penalties of perjury, and filed with the Internal

Revenue Service, which return defendant did not believe to be true and correct as to

every material matter,   in that it falsely stated on line 22 of said return that
defendant's total income was $755,849,whereas defendant knew that the amount set

forth on line 22 was false and fraudulent because defendant's total income       was

substantially in excess of $755,848;

      In violation of Title 26, United States Code, Section 7206(l).




                                           6
        Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 7 of 17 PageID #:7



                                    COI.]I{T THREE

         The SPECIAL DECEMBER 2017 GRAND JURY further charges:

         1.    The allegations in paragraph 1 of Count One of this indictment and

incorporated here.

         2.    On or aboutAugust L2,2014, in the Northern District of Illinois, Eastern

Division,

                                MICHAEL ABRAMSON,

defendant herein, did     willfully make and subscribe and caused to be made and
subscribed, an Amended United States Corporation Income Tax Return 1120X for

Leasing Employment Services with schedules and attachments for the calendar year

2006, which return was verified by a written declaration that was made under

penalties of perjury, and filed with the Internal Revenue Service, which return

defendant did not believe to be true and correct as to every material matter, in that

line 2 regarding total deductions included approximately $72,156 in payments made

to Individual A, while in truth defendant knew and believed that such payments were

personal and non-deductible payments, and Schedule          L, line 14, regarding other
assets   in the Form ],L20 attached to the Form 1120X included a loan receivable to
"JT" in the amount of $122,545, while in truth defendant knew and believed that the

amount consisted of personal payments from defendant to Individual A and not a

loan;

         In violation of Title 26, United States Code, Section 7206(l).
        Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 8 of 17 PageID #:8



                                     COUNT FOUR

         The SPECIAL DECEMBER 2017 GRAND JURY further charges:

         1.    The allegations in paragraph 1 of Count One of this indictment and

incorporated here.

         2.    On or about August 12,2014, in the Northern District of Illinois, Eastern

Division,

                                MICEIAEL ABRAMSON,

defendant herein, did     willfully make and subscribe and caused to be made and
subscribed, an Amended United States Corporation Income Tax Return 1120X for

Leasing Employment Services with schedules and attachments for the calendar year

2007, which return was verified by a written declaration          that was made under
penalties of perjury, and filed with the Internal Revenue Service, which return

defendant did not believe to be true and correct as to every material matter, in that

line 2 regarding total deductions included approximately $77,585 in payments made

to Individual A, while in truth defendant knew and believed that such payments were

personal and non-deductible payments, and Schedule          L, line 14, regarding other
assets   in the Form ]-l20 attached to the Form 1120X included a loan receivable to

"JT" in the amount of $150,557, while in truth defendant knew and believed that the

amount consisted of personal payments from defendant to Individual A and not a

loan;

         In violation of Title 26, United States Code, Section 7206(l).




                                             8
        Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 9 of 17 PageID #:9



                                      COI.]NT FTYE

         The SPECIAL DECEMBER 2017 GRAND JURY further charges:

         1.    The allegations in paragraph 1 of Count One of this indictment and

incorporated here.

         2.    On or about August L2,2014, in the Northern District of Illinois, Eastern

Division,

                                 MICIIAEL ABRAMSON,

defendant herein, did     willfully make and subscribe and caused to be made and
subscribed, an Amended United States Corporation Income Tax Return 1120X for

Leasing Employment Services with schedules and attachments for the calendar year

2008, which return was verified by a written declaration that was made under

penalties of perjury, and fiIed with the Internal Revenue Service, which return

defendant did not believe to be true and correct as to every material matter, in that

line 2 regarding total deductions included approximately $tl,ZZl in payments made

to Individual A, while in   truth defendant knew and believed that such payments were

personal and non-deductible payments, and Schedule          L, line 14, regarding other
assets   in the Form lL20 attached to the Form L120X included a loan receivable to

"JT" in the amount of $276,761, while in truth defendant knew and believed that the

amount consisted of personal payments from defendant to Individual A and not a

loan;

         In violation of Title 26, United States Code, Section 7206(L).
    Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 10 of 17 PageID #:10



                                       COT,]I{T SD(

         The SPECIAL DECEMBER 20t7 GRAND JURY turther charges:

         1.    The allegations in paragraph L of Count One of this indictment and

incorporated here.

         2.    On or about August t2,20L4, in the Northern District of Illinois, Eastern

Division,

                                MICIIAEL ABRAMSON,

defendant herein, did     willfully make and subscribe and caused to be made and
subscribed, an Amended United States Corporation Income Tax Return 1L20X for

Leasing Employment Services with schedules and attachments for the calendar year

2009, which return was verified by a written declaration that was made under

penalties of perjury, and filed with the Internal Revenue Senrice, which return

defendant did not believe to be true and correct as to every material matter, in that

line 2 regarding total deductions included approximately $0S,gtt in payments made

to Individual A, while in truth defendant knew and believed that such payments were

personal and non-deductible pa5rments, and Schedule         L, line 14, regarding other
assets   in the Forrn lL20 attached to the Form 1120X included a loan receivable to
"JT" in the amount of $374,186, while in truth defendant knew and believed that the

amount consisted of personal payments from defendant to Individual A and not a

loan;

         In violation of Title 26, United States Code, Section 7206(1).




                                            10
    Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 11 of 17 PageID #:11



                                     COI.]I{T SEVEN

         The SPECIAL DECEMBER 2017 GRAND JURY further charges:

         1.    The allegations in paragraph 1 of Count One of this indictment and

incorporated here.

         2.    On or aboutAugust L2,2014, in the Northern District of Illinois, Eastern




                                 MICHAEL ABRAMSON,

defendant herein, did       willfully make and subscribe and caused to be made and
subscribed, an Amended United States Corporation Income Tax Return 1120X for

Leasing Employment Services with schedules and attachments for the calendar year

20L0, which return was verified by a written declaration that was made under

penalties of perjury, and filed with the Internal Revenue Service, which return

defendant did not believe to be true and correct as to every material matter, in that

line 2 regarding total deductions included approximately     $Gg,OaS   in payments made

to Individual A, while in   truth defendant knew and believed that such payments were

personal and non-deductible pa5rments, and Schedule L,         line 14, regarding other
assets   in the Form LL20 attached to the Form 1120X included a loan receivable to

"JT" in the amount of $457,239,whi1e in truth defendant knew and believed that the

amount consisted of personal payments from defendant to Individual A and not a

loan;

         In violation of Title 26, United States Code, Section 7206(1).




                                            11
    Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 12 of 17 PageID #:12



                                     COI.JI{T EIGHT

         The SPECIAL DECEMBER 20L7 GRAND JURY further charges:

         1.    The allegations in paragraph 1 of Count One of this indictment and

incorporated here.

         2.    On or aboutAugust    t2,20t4,in the Northern District   of Illinois, Eastern

Division,

                                MICIIAEL ABRAMSON,

defendant herein, did     willfully make and subscribe and caused to be made and
subscribed, an Amended United States Corporation Income Tax Return 1120X for

Leasing Employment Services with schedules and attachments for the calendar year

2}1-l, which return was verified by a written declaration that was made under

penalties of perjury, and filed with the Internal Revenue Service, which return

defendant did not believe to be true and correct as to every material matter, in that

line 2 regarding total deductions included approximately $+8,68a in payments made

to Individual A, while in truth defendant knew and believed that such payments were

personal and non-deductible payments, and Schedule          L, line 14, regarding other
assets   in the Form   1120 attached to the Form 1120X included a loan receivable to

"JT" in the amount of $535,257, while in truth defendant knew and believed that the

amount consisted of personal pa;.ments from defendant to Individual A and not a

loan;

         In violation of Title 26, United States Code, Section 7206(l).




                                             12
    Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 13 of 17 PageID #:13



                                     COI,]NT NINE

         The SPECIAL DECEMBER 2017 GRAND JURY further charges:

         1.    The allegations in paragraph 1 of Count One of this indictment and

incorporated here.

         2.    On or about August L2,2014, in the Northern District of Illinois, Eastern

Division,

                                MICTIAEL ABRAMSON,

defendant herein, did     willfully make and subscribe and caused to be made and
subscribed, an Amended United States Corporation Income Tax Return 1120X for

Leasing Employment Services with schedules and attachments for the calendar year

2012, which return was verified by a written declaration that was made under

penalties of pe4'ury, and frled with the Internal Revenue Service, which return

defendant did not believe to be true and correct as to every material matter, in that

line 2 regarding total deductions included approximately $48,275 in payments made

to Individual A, while in   truth defendant knew and believed that such payments were

personal and non-deductible payments, and Schedule L, line          t4, regarding other
assets   in the Form 1-1-20 attached to the Form 1120X included a loan receivable to
"JT" in the amount of $662,417, while in truth defendant knew and believed that the

amount consisted of personal pa5rments from defendant to Individual A and not a

loan;

         In violation of Title 26, United States Code, Section 7206(1).




                                            13
    Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 14 of 17 PageID #:14



                                    COI.JI{T TEN

      The SPECIAL DECEMBER 2Ot7 GRAND JURY furbher charges:

      1.      The allegations in paragraph L of Count One of this indictment and

incorporated here.

      2.      On or about August 12,2014,in the Northern District of Illinois, Eastern

Division,

                               MICIIAEL ABRAMSON,

defendant herein, did   willfully make and subscribe and caused to be made and
subscribed,   a United States Corporation Income Tax Return tL20 for Leasing
Employment Services with schedules and attachments for the calendar year 2013,

which return was verified by a written declaration that was made under penalties of

perjury, and filed with the Internal Revenue Service, which return defendant did not

believe to be true and correct as to every material matter, in that line 26 regarding

other deductions included approximately $59,312 in payments made to Individual A,

while in truth defendant knew and believed that such payments were personal and

non-deductible paSrments, and Schedule L, line 14, regarding other assets included a

loan receivable to "JT" in the amount of $733,614, while in truth defendant knew and

believed    that the amount consisted of personal payments from defendant           to

Individual A and not a loan;

      In violation of Title 26, United States Code, Section 7206(l).




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    Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 15 of 17 PageID #:15



                                 COI,]IVT ELE\TEN

      The SPECIAL DECEMBER 20t7 GRAND JURY further charges:

      1.     The allegations in paragraph 1 of Count One of this indictment and

incorporated here.

      2.     On or about October 20, 20L4, in the Northern District of Illinois,

Eastern Division,

                              MICIIAEL ABRAMSON,

defendant herein, did   willfully make and subscribe and caused to be made and
subscribed, a United States Individual Income Tax Return 1040 with schedules and

attachments for the calendar year 20t3, which return was verified by a written

declaration that was made under penalties of perjury, and filed with the Internal

Revenue Service, which return defendant did not believe to be true and correct as to

every material matter,   in that it falsely stated on line 22 of said return that
defendant's total income was $604,7L},whereas defendant knew that the amount set

forth on line 22 was false and fraudulent because defendant's total income was

substantially in excess of $604,713;

      In violation of Title 26, United States Code, Section 7206(L).




                                         15
    Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 16 of 17 PageID #:16



                                 COI]NT TWEL\M

      The SPECIAL DECEMBER 20L7 GRAND JURY turther charges:

      1.      The allegations in paragraph    1"   of Count One of this indictment and

incorporated here.

      2.      On or about September 2L, 20t5, in the Northern District of Illinois,

Eastern Division,

                               MICIIAEL ABRAMSON,

defendant herein, did   willfully make and subscribe and       caused   to be made and

subscribed,   a United States Corporation Income Tax Return            1-1-20   for Leasing
Employment Services with schedules and attachments for the calendar year 2014,

which return was verified by a written declaration that was made under penalties of

perjury, and filed with the Internal Revenue Service, which return defendant did not

believe to be true and correct as to every material matter, in that line 26 regarding

other deductions included approximately $ag,Ztt in payments made to Individual A,

while in truth defendant knew and believed that such payments were personal and

non-deductible payments, and Schedule L, line 14, regarding other assets included a

loan receivable to "JT" in the amount of $779,538, while in truth defendant knew and

believed   that the amount consisted of personal payments from defendant                 to

Individual A and not a loan;

      In violation of Title 26, United States Code, Section 7206(L).




                                         16
    Case: 1:18-cr-00681 Document #: 1 Filed: 10/11/18 Page 17 of 17 PageID #:17



                                 COI,JI\TT   THIRTEEN

      The SPECIAL DECEMBER 2017 GRAND JURY further charges:

      1.     The allegations in paragraph 1 of Count One of this indictment and

incorporated here.

      2.     On or about October 17, 2016, in the Northern District of Illinois,

Eastern Division,

                             MICHAEL ABRAMSON,

defendant herein, did   willfully make and subscribe and caused to be made and
subscribed, a United States Individual Income Tax Return 1040Xwith schedules and

attachments for the calendar year 2014, which return was verified by a written

declaration that was made under penalties of perjury, and filed with the Internal

Revenue Service, which return defendant did not believe to be true and correct as to

every material matter, in that   it falsely stated on line 22 of the Form 1040 attached

to the Fonn 1040X that defendant's total income was $673,938, whereas defendant

knew that the amount set forth on line 22 was false and fraudulent because

defendant's total income was substantially in excess of $673,938;

      In violation of Title 26, United States Code, Section 7206(L).


                                                  A TRUE BILL:



                                                  FOREPERSON

UNITED STATES ATTORNEY



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